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           New York | New Jersey | Philadelphia | Miami | Los Angeles | San Francisco | San Diego


                                                January 25, 2024

                                   PERSONAL AND CONFIDENTIAL

   VIA EMAIL (oneil@enthusiasthotels.com)
   Attn: Mr. Oneil Khosa
   Casa Morada – MMI 82 LLC
   136 Madeira Road
   Islamorada, FL 33036-3615

   Re: Our Clients – A’KARI JOHNSON and HAZEL THOMPSON

   Dear Mr. Khosa:

           Please be advised that this law firm represents Mr. A’kari Johnson and Ms. Hazel
   Thompson (hereinafter referred to as “Claimants”) pertaining to the to the serious race/color
   discrimination, hostile work environment, and retaliation claims arising from Claimant’s
   employment with Casa Morada – MMI 82 LLC (hereinafter referred to as “MMI” or the
   “Company”). Further, MMI has violated various federal state and local laws pertaining to unpaid
   overtime wages, retaliation, and interfering with Claimant’s business relationships. Specifically,
   Claimants allege that MMI has engaged in conduct that is prohibited to employers under several
   federal and state laws, including but not limited to, the Florida Private Whistleblower Act, §
   448.102, Florida Statutes et seq. (“FPWA”); the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.
   (“FLSA”); 42 U.S.C. § 2000e et seq. (“Title VII”) and the Florida Civil Rights Act, Fla Stat.
   §760.01 et seq. (“FCRA”); and Tortious Interference with a Business Relationship under Florida
   Law.

          We write to you in a good faith attempt to resolve this matter. At this time, a charge has
   been prepared to be filed with the Equal Employment Opportunity Commission and the Florida
   Commission on Human Relations. Please contact our firm to discuss this matter. Conversely, if
   we do not hear from you, we will assume that MMI is not interested in an amicable resolution, and
   we will proceed accordingly.

           Regardless of whether you choose to resolve this matter at this stage, it is your company’s
   legal duty to provide certain insurance information to me and to preserve company records. I have
   attached a brief statement of your obligations in this regard.

                                                                                                           EXHIBIT
                                                                                                                     I
   Miami Office Address: 520 Brickell Key Dr, Suite O-301, Miami, FL 33131 | Tel: 305-946-1884 | Fax: 305-503-6741
                                 www.discriminationandsexualharassmentlawyers.com
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          We hereby demand that MMI preserve the following electronically stored information
   (ESI) relating to Claimants in its original state, and that all backup of this data, regardless of its
   storage, shall not be erased or deleted:

       1. The entire contents of Claimants’ personnel files;

       2. All photos and video recordings of Claimants and all or any of those individuals with whom
          they worked since the start of their respective employment;

       3. All communications sent by or received by Claimants and any of those individuals with
          whom they have worked with since the start of their respective employment;

       4. All communications and documents pertaining to Claimants’ complaints of wages, unfair
          treatment, harassment, and/or discrimination.

           I look forward to hearing from you or your representative and working with you to resolve
   this matter.

           Dated: Miami, Florida                         DEREK SMITH LAW GROUP, PLLC
                  January 25, 2024                       Counsel for Claimants

                                                         s/ Daniel J. Barroukh
                                                         Daniel J. Barroukh, Esq.
                                                         Derek Smith Law Group, PLLC
                                                         520 Brickell Key Drive, Suite O-301
                                                         Miami, FL 33131
                                                         Tel: (305) 946-1884
                                                         Fax: (305) 503-6741
                                                         Danielb@dereksmithlaw.com

   Enc.:

   Notice of Obligation to Provide Insurance Information

   Notice of Obligation to Preserve All Records
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                  OBLIGATION TO PROVIDE INSURANCE INFORMATION

           In accordance with Florida Statute §627.4137(1), please furnish us with a statement setting
   forth the following information regarding Claimants’ claims, including:

      1. The name of each known insurer; and
      2. The coverage information for each known insurer

           Additionally, in accordance with Florida Statute §627.4137(1), please forward this request
   to each affected insurer, and have each insurer supply to our office a statement under oath with the
   following information within thirty (30) days of such insurer’s receipt of this request:

      A. The name of the insurer;
      B. The name of each insured;
      C. The limits of the liability coverage- including excess or umbrella insurance;
      D. A statement of any policy or coverage defense which such insurer reasonably believes is
         available to such insurer at the time of filing such statement; and
      E. A copy of each policy.

          Further, in accordance with Florida Statute §627.4137(2), please ensure that the statement
   required above is amended immediately upon delivery of facts calling for an amendment to such
   statement.

                         OBLIGATION TO PRESERVE ALL RECORDS

            This shall also serve as formal notice to Casa Morada – MMI 82 LLC (hereinafter referred
   to as “MMI” or the “Company”) to preserve all evidence and information that may be relevant to
   the pending legal claim and lawsuit. Specifically, the Company must make an affirmative effort to
   preserve all document and electronically stored information (“ESI”) on all devices in your
   possession or control, regardless of the source of the documents or ESI. “Preserving” the
   documents and ESI means that they must not be destroyed, deleted, or modified. Your Company’s
   failure to comply can result in sanctions being imposed by the Court for spoliation of evidence or
   potential evidence.

           For these purposes, the terms “Documents” and “ESI” have a very broad meaning and
   include not only hard copy documents (both drafts and final copies) but also provide a wide range
   of electronic data. ESI can include, but is not limited to, all digital or analog electronic files,
   including “deleted” files and file fragments, stored in machine-readable format on magnetic,
   optical, or other storage media, including but not limited to flash drives or other portable devices
   your Company computers, and any backup media (e.g., other hard drives, backup drives, flash
   drives, CDs) or otherwise, regardless of whether such files have been reduced to paper printouts.
   The same is time for all cell phones in your Company’s possession and control, including any
   personal smart/cell phone your Company has used within the past year. As a non- exhaustive list,
   your Company is to preserve all e-mails and tech messages, both sent and received, whether
   internally or externally; all work-processed files, including drafts and revisions; all spreadsheets,
   including drafts and revisions; all databases; all data generated by e-mailing, calendaring, task
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   management, and personal information management (PIM) software (such as Microsoft Outlook),
   whether personal or provided your Company; all data created with the use pf personal data
   assistants (PDAs), including but not limited to iPhone, Blackberry, Pocket PC, or Windows Mobile
   devices; all data created with the use of mobile phones, whether personal or provided by your
   Company, including but not limited to text messages and instant messages; all data created with
   the use of paper and electronic mail logging and routing software all internet and Web-browser
   generated history files, caches, and “cookies” files generated; all information pertaining to social
   networking accounts, including but not limited to Facebook, Twitter, Linkedin, Instagram,
   Snapchat, Pinterest, and all other forms of social networking accounts; and any and all other files
   generated by users through the use of computers and/or telecommunications, including but not
   limited to voice mail.

           Further, your Company is to preserve any log or logs of network use, whether kept in paper
   or electronic form, and to preserve all copies of your backup drives and the software necessary to
   reconstruct the data on those drives, so there can be made a complete, bit-by-bit “mirror”
   evidentiary image copy of the storage media of each and every personal computer and network
   server in your Company’s control and custody, as well as image copies of all hard drives retained
   by your Company’s control and custody, as well as image copies of all hard drives retained by
   your Company and no longer in service, but in use at any time from the beginning of our client
   employment with your Company to the present. The sources for these Documents and ESI could
   include, but are not limited to, all hard copy files and computer hard drives personal and work),
   removable media (such as CDs, DVDs, and thumb drives), computer servers, laptop computers,
   PDAs, Blackberry Devices, and other mobile phones. Ms. Garcia requests that your Company
   make efforts to preserve the information regardless of the source or location of the information.

            In an abundance of caution, your Company is to undertake these preservation obligations
   as to all of the above information, sources, and devices regardless of whether the Company thinks
   the information, source or device is relevant- e.g., preserve all text messages on any cell phone or
   PDA has used within the past year regardless of the sender or recipient and regardless of their
   content.

           In order to preserve all existing documents and ESI, please have the Company stop any
   deletion, overwriting, or other possible destruction of the documents and ESI. Your Company’s
   preservation of evidence obligations also requires you to suspend all processes and routines in
   place on all sources for filing, modifying, deleting, removing, altering, or recycling any
   electronically stored information, data, and documents and to take all other steps necessary for the
   preservation of such evidence.

          We request that your Company capture and print all such text messages now to avoid any
   inadvertent deletion of the same. To the extent that text messages are or have been deleted, we
   request that your Company preserve all evidence and records that show how and when such text
   messages were deleted and who was responsible for the deletion.

          With regard to electronic data created after the date of delivery of this letter, relevant
   evidence is not to be destroyed and your Company is to take whatever steps are appropriate to
   avoid destruction of evidence. To assure that your Company’s obligation to preserve documents
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   and things will be met, please forward a copy of this letter to any other persons or entities with
   custodial responsibility for the items referred to in this letter.

           It is also your obligation to preserve all pay records as well as any other records relating to
   our client.
